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                                            April 20, 2023
Via ECF Only

The Honorable Lorna G. Schofield
United States District Court, Southern District of New York
Courtroom 1106
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

          Re:     KAWS, Inc. v. The Individuals, Corporations, et al.,
                  Case No. 1:23-cv-03134-LGS

Dear Judge Schofield:

        We represent plaintiff KAWS, Inc. (“Plaintiff”) in the above-referenced matter. On April
14, 2023, the Court entered an Order to Show Cause for Preliminary Injunction and Temporary
Restraining Order (Dkt. No. 25, the “Order”) granting Plaintiff’s ex parte application for temporary
restraints and scheduling a hearing for April 26, 2023 on Plaintiff’s request for the issuance of a
preliminary injunction. The April 26 hearing is the next scheduled hearing in this matter.

          We write to request the Court, respectfully:

   1. A fourteen (14) day extension of Defendants’ deadline to file opposing papers to Plaintiff’s
request for the issuance of a preliminary injunction, from April 21, 2023 to May 5, 2023;
   2. A fourteen (14) day adjournment of the preliminary injunction hearing, from April 26,
2023 to May 10, 2023; and
   3. An extension of the restraints imposed by the Order until the new hearing date pursuant to
Rule 65(d)(2).
        As explained in more detail below, pursuant to the Order Plaintiff has sought, but not yet
received, confirmation from the online marketplace platforms and financial institutions that the
asset restraint is complete and identifying information for Defendants.
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        This will be the first extension and adjournment of these dates. No defendant has appeared
in this matter.

                  Extension of Deadline and Adjournment of Hearing Date

        As noted in our application that lead to the Order, Defendants in this case are actively
marketing and selling products that infringe upon Plaintiff’s intellectual property rights.
Defendants are made up of persons and entities that hide their true identities behind various
usernames, through which they sell infringing products using online marketplace platforms such
as Amazon, DHgate eBay, Etsy, Redbubble, Walmart, and Wish. As a result, and to protect
Plaintiff’s rights, the Court authorized service of the Summons, Complaint, and Order by
electronic mail within five (5) days after the online marketplace platforms’ compliance with the
temporary asset restraint provisions of the Order. See Order, ¶¶ 3–8.

       Delaying service until after the temporary asset restraint is in effect is critical to maintain
the confidentiality of this proceeding until Defendants’ accounts are frozen, thereby avoiding
defendants’ improper transfer and/or destruction of ill-gotten proceeds and other relevant
information. Indeed, as detailed in our initial application, and as accepted by the Court in the
Order, “if Defendants are given notice of the Application, they are likely to conceal, transfer,
or otherwise dispose of their ill-gotten proceeds,” and are also “likely to destroy, move, hide,
or otherwise make inaccessible the records and documents relating to Defendants’ manufacture,
importing, advertising, distribution, offering for sale, and/or sale of the Counterfeit Products.”
See Order, p. 4. At the same time, Plaintiff recognizes that service of the Summons, Complaint,
and Order is essential to ensuring that Defendants have access to the full record before the
preliminary injunction hearing. In that regard, the Order also directed the third-party service
providers to provide information concerning Defendants to Plaintiff, including contact
information, to enable Plaintiff to effectuate service of the documents in this case. See, e.g.,
Order, ¶¶ 6-7.

       Plaintiff served the online marketplace platforms with the Order on April 14, 2023. To
date, however, not all of the online marketplaces have (i) confirmed that the asset restraint is
complete, or (ii) provided contact information for Defendants sufficient to complete e-mail
service. In particular, confirmation and expedited discovery from Etsy, Redbubble, and Wish
remains outstanding.

        Thus, to ensure Defendants can review and respond to Plaintiff’s filings in a timely
manner, while at the same time preserving the confidentiality of these proceedings until such
time as the asset freeze occurs, we respectfully request the Court extend Defendants’ deadline to
respond to the Order from April 21, 2023 to May 5, 2023, and adjourn the preliminary injunction
hearing from April 26, 2023 to May 10, 2023.
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                              Extension of Temporary Restraint

        The Temporary Restraining Order is currently set to expire on Friday, April 28, 2023.
See Order, p. 10. If the temporary restraints dissolve before Plaintiff can be heard on its
preliminary injunction application, there is a substantial risk (as detailed in the moving papers)
that Defendants (who will by then be on notice of these proceedings) will hide their assets and
other relevant information before preliminary restraints can be imposed.

        We respectfully submit that the foregoing constitutes “good cause” under Rule 65(b)(2)
to extend the temporary restraints for a short period of time. Thus, to ensure that the relief
provided in the Order is not rendered moot, and to protect Plaintiff’s rights pending the return
date of the Order, we respectfully request that the Court continue the relief set forth in the
Order until after the adjourned hearing date on Plaintiff’s preliminary injunction application.

        Defendants will not be unduly prejudiced by this request. In the first instance,
Defendants have no right to engage in the infringing activity at issue. Moreover, we are
requesting an adjournment of only fourteen (14) days, giving Defendants the ability to quickly
seek relief if they are so entitled.

        We would be happy to provide more information or to make ourselves available to
discuss this matter further, if necessary. We thank the Court for its time and attention to this
matter.


                                             Very truly yours,

                                             THOITS LAW

                                             /s/Anna Iskikian
                                             Anna Iskikian

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